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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 MARYBELLE FAYAD, on behalf of
 herself and all others similarly situated,
                                               Case No. 2:23-cv-00032-JDW
                Plaintiff,

       v.

 CITY OF PHILADELPHIA,

                Defendant.


                                         ORDER

      AND NOW, this 14th day of April, 2023, upon consideration of Defendant City of

Philadelphia’s Partial Motion To Dismiss Plaintiff’s Complaint Pursuant To Rule 12(b)(6)

(ECF No. 10), and for the reasons set forth in the accompanying Memorandum, it is

ORDERED that the Motion is GRANTED IN PART and DENIED IN PART as follows:

      1.       The Motion is GRANTED with respect to Plaintiff Marybelle Fayad’s FLSA

claims that accrued prior to January 4, 2021, and those claims are DISMISSED WITHOUT

PREJUDICE; and

      2.       The Motion is DENIED in all other respects.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.
